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10
                               UNITED STATES DISTRICT COURT
11
                           CENTRAL DISTRICT OF CALIFORNIA
12
                                     WESTERN DIVISION
13
14
     UNITED STATES OF AMERICA,                       Case No. CR-20-326-JFW
15
                  Plaintiff,
16                                                   JOSE HUIZAR’S NOTICE OF
           v.                                        ERRATA
17
     JOSE LUIS HUIZAR,
18
                  Defendants.
19
20         Jose Huizar, through counsel, hereby files this notice of errata to add an exhibit
21   to, and correct a citation in, Appendix A. Page 24 of Appendix A references “Ex. 22.”
22   The reference should be to Ex. 25, which is attached to this notice.
23
24                                          Respectfully submitted,
                                            CUAUHTEMOC ORTEGA
25                                          Federal Public Defender
26    Dated: December 28, 2023              /s/ Charles J. Snyder
27                                          Charles J. Snyder
                                            Adam Olin
28                                          Attorneys for Jose Huizar

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        EXHIBIT 25
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                                                 Linesheet - Minimization Details                                User:      Andrew Civetti


 Case: 194B-LA-255905      Target: George Esparza       Line:                   File Number:

 Huizar is helping raise money, attempting to collect a check for her. $10,000 donation amount requested.
 **DavidM transcript
 T: [UNI] this is Thomas.
 GE: Hi Thomas, uh this is, uh, George Esparza calling on behalf of Councilmember Jose Huizar.
 T: Oh hi.
 GE: Hi. I don't think I've ever met you before. But, I've heard your name. [laughs]
 T: Definitely.
 GE: Yeah um... um, so yeah so I'm calling cuz, um, the councilmember, um, wanted me to, uh, get in
 touch with, um, with um, sorry, councilmember just texting me right now. Um with uh Paul.
 T: Uh huh
 GE: Um, to see, he's doing some, understand it's last minute. But he's doing some fundraising um, for
 um, Janice Han (sp), uh County Supervisor. And he wanted me to ask if, if he would be willing to help uh,
 you know raise uh, collect a check for, for her. Um, and so just wanted to know if that was possible. Um,
 councilor was hoping for a ten thousand dollar donation. Um. So if he just- it's last minute but we can-
 needs to deliver this on Monday. So gives us less than 48 hours I think.
 T: Would you be uh- would the- uh- did- did Councilmember Huizar want to talk to Paul? Or if- maybe you
 guys want to put something in writing? And send it, send it via email?
 GE: Um, I can send it via email. I think he just wanted me to reach out to him just to, you know.
 T: You want- you want to have a chat with- you want to have a chat with him now?
 GE: Sure if he's uh, if he's available. I can talk to him.
 T: Uh, let me see here.
 GE: I understand it's short notice too, but I know he just wanted me to see if it's, you know, possible.
 T: Let me see here. Give me your name again.
 GE: Uh George Esparza. I'm the councilmember's uh, special assistant.
 T: Hold on, let me see if he's [UNI]
 GE: Ok.
 [Call drops - continued with session 2663]
 ,




Minimization Event                                      Time

Minimize On (System)                                    16:18:37 PDT

Session:    2663           Times minimized:             1                    Associate DN:     (213) 437-0478
Start Time: 16:21:07 PDT   Duration minimized:          00:00:00             Monitor ID:       dmmaltinsky
Stop Time: 16:26:37 PDT    Duration monitored:                               In/Out Digits:    2134370478
Date:       05/04/2017     Total Duration:              00:05:30             Subscriber:
Direction: Incoming        Language:                    Unknown              Classification:   Pertinent
Content:    Audio          Complete:                    Completed            Participants:     Esparza, George


Comments


Synopsis 1
 [Called back GE after dropped call]
 Paul -- raise some funds to donate for Janice Han. Contribution request. $10,000. No limits?
 Paul can do $2500.




12/04/2018 11:02:43 PST                                                                                                  588 of 1555
